
By the Court :
The act of 1854, ch. 32, § 8, declares, that “Persons illegally voting for any of said offices, shall be liable to indictment or presentment; and, upon conviction, shall be punished as in other cases of misdemeanor.” The indictment, in the present case, charges, that the defendant did “ unlawfully vote,” &amp;c. The charge is laid in the words of the statute, except that “unlawfully” is substituted in the indictment for “illegally,” the word used in the statute. This is no ground of objection, as the words are synonymous — of precisely the same legal signification.
The language of the act of 1854, is different from that of the act of 1841. The words of the latter act are, “ If any person shall knowingly vote,” &amp;c. In an indictment framed upon the act of 1854, it is not necessary to use the word “ knowingly,” because not used in the statute. The word “illegally,” in the sense in which it is used in the act of 1854, implies that the party had knowledge, or was bound to have had knowledge, of the facts which constituted the vote illegal. And although, as a matter of pleading, it is not necessary to aver, in an indictment *66under the act of 1854, that the party “ knowingly” voted, yet, on the trial, it must appear from the evidence, that he either had knowledge, or in law was chargeable with knowledge, of the facts which made the vote illegal.
In this view, the Court erred in arresting the judgment. The judgment will be reversed, and judgment be rendered here upon the verdict of the jury.
